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                   UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF COLUMBIA

NATIONAL COUNCIL OF
NONPROFITS, et al.,

Plaintiffs,
                                          Case No. 25-cv-239
v.

OFFICE OF MANAGEMENT AND
BUDGET, et al.,

Defendants.



                 [PROPOSED] ORDER GRANTING
          MOTION FOR TEMPORARY RESTRAINING ORDER

       Upon consideration of Plaintiffs’ motion for a temporary restraining

order, Defendants’ opposition, Plaintiffs’ reply, and argument held on

February 3, 2025, it is hereby

       ORDERED that the motion is GRANTED; it is further

       ORDERED that Defendants are ENJOINED from implementing,

giving effect to, or reinstating under a different name the directive in Memo

M-25-13 with respect to the disbursement of Federal funds under all open

awards; it is further

       ORDERED that Defendants must promptly provide written notice of

this Order and of the Court’s administrative stay to all agencies to which the

Memo was addressed and instruct those agencies that they must take no

further steps to implement, give effect to, or reinstate under a different name
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the directive in Memo M-25-13 with respect to the disbursements of Federal

funds under all open awards, and that those agencies must also take

immediate steps to release payments on open awards previously frozen in

reliance on the Memo; it is further

       ORDERED that Defendants must inform the Court by {DATE} of the

specific steps they have taken to implement this Order and the previously

entered administrative stay, including, but not limited to, filing on the docket

a copy of the notice and directive provided under the previous paragraph and

a list of its recipients; and it is further

       ORDERED that this Order shall apply to the maximum extent

provided for by Federal Rule of Civil Procedure 65(d)(2).

       SO ORDERED.



Dated: February ____, 2025                    ___________________________________
                                              THE HON. LOREN L. ALIKHAN
                                              UNITED STATES DISTRICT JUDGE




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                NAMES OF PERSONS TO BE SERVED
               WITH PROPOSED ORDER UPON ENTRY

      Pursuant to Local Civil Rule 7(k), below are the names and addresses of
persons entitled to be notified of entry of the above Proposed Order:

Daniel Schwei
Andrew Freidah
Eitan Sirkovich
United States Department of Justice
Civil Division, Federal Programs Branch
1100 L Street NW, Room 11532
Washington, DC 20005
daniel.s.schwei@usdoj.gov
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Jessica Anne Morton (DC Bar No. 1032316)
Kevin E. Friedl* (Admitted only in New York; practice supervised by D.C.
Bar members)
Kaitlyn Golden (DC Bar No. 1034214)
Robin F. Thurston (DC Bar No. 1531399)
Skye L. Perryman* (D.C. Bar No. 984573)
Will Bardwell* (D.C. Bar No. 90006120)
Democracy Forward Foundation
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*admitted pro hac vice

Beatrice Adams
1032 15th Street NW
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Washington, DC 20005




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                      CERTIFICATE OF SERVICE

      On February 3, 2025, I caused the foregoing to be filed electronically

via the Court’s CM/ECF system, which provides electronic notice to all

counsel of record. I further caused those documents to be served on pro se

movant Beatrice Adams at the mailing address she has entered on the record.


Dated: February 3, 2025                      /s/ Kevin E. Friedl
                                              Kevin E. Friedl




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